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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             NEW ALBANY DIVISION

 ULTRA ATHLETE LLC,                             )
                                                )
                             Plaintiff,         )
                                                )
                        v.                      )    No. 4:17-cv-00237-RLY-DML
                                                )
 JALMAR ARAUJO, et al.                          )
                                                )
                             Defendants.        )

                        Order Striking Discovery Materials
       The court reminds the parties that under Local Rule 26-2, discovery

 materials may not be filed with the court except if they are relevant to a request for

 relief from the court and in other limited circumstances. The plaintiff filed a notice

 of deposition, interrogatories, requests for admission, and requests for production

 of documents. The court STRIKES the discovery materials from the docket, at

 Dkts. 20, 21, 22, and 23. The parties should not make routine filings of

 discovery materials.


       IT IS SO ORDERED.

       Dated: May 1, 2018                  ____________________________________
                                              Debra McVicker Lynch
                                              United States Magistrate Judge
                                              Southern District of Indiana



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